                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:                                         Bankruptcy Case No. 13-53846
City of Detroit, Michigan,                     Judge Thomas J. Tucker
            Debtor.                            Chapter 9

   STIPULATION FOR ORDER EXTENDING DEADLINE FOR THE
ELECTRICAL WORKERS’ PENSION TRUST FUND OF LOCAL UNION
   # 58, I.B.E.W., DETROIT, MICHIGAN AND THE SHEET METAL
 WORKERS’ LOCAL UNION NO. 80 PENSION TRUST FUND TO FILE
THEIR RESPONSE IN OPPOSITION CITY OF DETROIT’S MOTION TO
 ENFORCE CONFIRMATION ORDER AGAINST THE SHEET METAL
  WORKERS’ LOCAL UNION NO. 80 PENSION TRUST FUND AND
ELECTRICAL WORKERS’ PENSION TRUST FUND OF LOCAL UNION
         #58, I.B.E.W., DETROIT MICHIGAN [DOC. NO. 13308]

         The City of Detroit, Michigan (“City”) and the Electrical Workers’ Pension

Trust Fund of Local Union #58, I.B.E.W., Detroit, Michigan and the Sheet Metal

Workers’ Local Union No. 80 Pension Trust Fund (together, the “Pension Funds”),

by their undersigned counsel, hereby stipulate and agree as follows:

     1.         On August 28, 2020, the City filed the City of Detroit’s Motion to

Enforce the Confirmation Order Against the Sheet Metal Workers’ Local Union

No. 80 Pension Trust Fund and Electrical Workers’ Pension Trust Fund of Local

Union #58, I.B.E.W., Detroit Michigan (the “Motion to Enforce”) [Doc. No.

13308].




 13-53846-tjt     Doc 13311   Filed 09/11/20   Entered 09/11/20 09:34:28   Page 1 of 4
     2.         Since the Motion to Enforce was filed, the City and the Pension Funds

have exchanged certain information relevant to the relief sought by the Motion to

Enforce in an effort to narrow the issues before the Court.

     3.         The current deadline for the Pension Funds to file their response to the

Motion to Enforce is Friday, September 11, 2020.

     4.         The Pension Funds have requested and the City has agreed, subject to

this Court’s approval, to extend the deadline for the Pension Funds to file their

response to the Motion to Enforce through and including Friday, September 25,

2020.

        WHEREFORE, the City and the Pension Funds respectfully request that the

Court enter an order in substantially the same form as the one attached as Exhibit 1

extending the deadline for the Pension Funds to file their response to the Motion to

Enforce through and including Friday, September 25, 2020.



STIPULATED AND AGREED TO ON September 11, 2020:

By: /s/ Barbara A. Patek                         By: /s/ Marc N. Swanson
Barbara A. Patek, Esq. (P34666)                  Marc N. Swanson (P71149)
Attorney for the Pension Funds                   Attorney for Debtor – City of Detroit
24 E. Flint Street, Suite 2                      150 West Jefferson, Suite 2500
Lake Orion, MI 48362                             Detroit, MI 48226
(248) 814-9470                                   (313) 496-7591
pateklaw@gmail.com                               swansonm@millercanfield.com




 13-53846-tjt     Doc 13311    Filed 09/11/20   Entered 09/11/20 09:34:28   Page 2 of 4
                                    EXHIBIT 1

                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

In re:                                        Bankruptcy Case No. 13-53846
City of Detroit, Michigan,                    Judge Thomas J. Tucker
            Debtor.                           Chapter 9

ORDER EXTENDING DEADLINE FOR THE ELECTRICAL WORKERS’
 PENSION TRUST FUND OF LOCAL UNION # 58, I.B.E.W., DETROIT,
MICHIGAN AND THE SHEET METAL WORKERS’ LOCAL UNION NO.
     80 PENSION TRUST FUND TO FILE THEIR RESPONSE IN
    OPPOSITION CITY OF DETROIT’S MOTION TO ENFORCE
CONFIRMATION ORDER AGAINST THE SHEET METAL WORKERS’
  LOCAL UNION NO. 80 PENSION TRUST FUND AND ELECTRICAL
WORKERS’ PENSION TRUST FUND OF LOCAL UNION #58, I.B.E.W.,
             DETROIT MICHIGAN [DOC. NO. 13308]

         This matter is before the Court on the Stipulation for Order Extending

Deadline for the Electrical Workers’ Pension Trust Fund of Local Union #58,

I.B.E.W., Detroit, Michigan and the Sheet Metal Workers’ Local Union No. 80

Pension Trust Fund (together, the “Pension Funds”) to File Their Response to the

City of Detroit’s Motion to Enforce the Confirmation Order Against the Sheet

Metal Workers’ Local Union No. 80 Pension Trust Fund and Electrical Workers’

Pension Trust Fund of Local Union #58, I.B.E.W., Detroit Michigan (the “Motion

to Enforce”) [Doc. No. ______]. The Court has read the stipulation and finds good

cause to enter this Order.




 13-53846-tjt   Doc 13311    Filed 09/11/20   Entered 09/11/20 09:34:28   Page 3 of 4
      IT IS ORDERED that the deadline for the Pension Funds to file their

response to the Motion to Enforce is extended from Friday, September 11, 2020

through and including Friday, September 25, 2020.




 13-53846-tjt   Doc 13311   Filed 09/11/20   Entered 09/11/20 09:34:28   Page 4 of 4
